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IN THE UNITED sTATEs DIsTRIcT coURT

FOR THE wEsTERN DISTRICT oF TENNESSEE igLo
wEsTERN DIVISION 9 7 '

    

 

UNITED STATES OF AMERICA,
Plaintiff,

v.

No. 04-20503 Ma/P
BRUCE BARNHILL,

Defendant.

 

ORDER ON MOTION TO COMPEL ELECTION AMONG FIREARM COUNTS

 

Defendant Bruce Barnhill is under indictment for four counts
of Violating 18 U.S.C. § 922(g). Before the court is Barnhill’s
“motion to compel election between multiplicitous firearm counts,”
filed February 9, 2005. The United States (“the government”)
responded on March 4, 2005. For the following reasons, the motion
is DENIED.

I. Background

The government alleges the following facts. On or about May
7, 2004, Memphis Police Department Officers responded to a “fight
call” at 1410 Duke in. Memphis, Tennessee. Upon. arrival, the
officers spoke with Suzanne Kibble, who told them that her

boyfriend, Defendant Barnhill, had assaulted her. The officers

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with Rule 55 and/or 32(&3) FHCrP on § 1 /j/O§

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found Defendant in the bedroom of the home, “surrounded by several
guns and alcohol.” Defendant was charged in a four-count
indictment with possessing four different firearms after having
been_ previously convicted of a misdemeanor crime of domestic
violence. Defendant moves the court to compel the government to
elect among the four counts in the indictment because the
simultaneous possession of several firearms constitutes only one
violation of 18 U.S.C. § 922(g}.

II. Analysis

Defendant argues, and the government does not dispute, that he
can be convicted of only one violation of 18 U.S.C. § 922(g) if all
charges in. the indictment are proven. The government seeks,
however, to be allowed to proceed with four separate counts, to be
merged into one conviction at sentencing, should the jury reach a
verdict of guilty on more than one of the counts.

It is within the court’s discretion whether or not to require
the government to n@rge or choose among multiplicitous counts
before trial. United States v. Throneburg, 921 F.2d 654, 657 (6th
Cir. 1990)(upholding district court’s decision allowing government
to go forward with separate counts for one violation of § 922{g)).
The court may require the government to proceed on only one count
or allow the government to proceed on more than one count and merge
the counts at sentencing. Id.; U.S. v. Carnes, 113 F. Supp. 2d

1145, 1161 (E.D. Mich. 2000). Given the government’s “broad

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discretion in bringing criminal cases,” the court chooses the
latter alternative. Throneburgl 921 F.2d at 657 (citing Ball v.

United States, 470 U.S. 856, 859 (1985)).

 

Defendant argues that allowing the government to proceed on
all four counts in the indictment will potentially prejudice him by
inviting the jury to render a compromise verdict. Because the
Defendant can be convicted of only one violation of 18 U.S.C. §
922(g), there is little risk that the separate counts will “lead to
multiple sentences for the same offense [or] ... improperly
prejudice a jury by suggesting that a defendant has committed not
one but several crimes.” United States v. Reed, 639 F.2d 896, 904
(2nd Cir. 1981). The only risk of prejudice is that the mere
presence of nmltiple counts will make the jury more likely to
render a guilty verdict on a single count, when the jury would
otherwise be inclined to render a verdict of not guilty on all four
counts. This argument rests on the assumption that the jury will
not be capable of considering separately the different factual
allegations in each count. Juries are routinely asked to make
separate findings as to multiple counts in an indictment, and any
potential prejudice or confusion can be remedied by a limiting

instruction.

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III. Conclusion

For the foregoing reasons, the Defendant’s motion is DENIED.

so ORDERED this /E/Lday cf May 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

